Case: 2:19-cv-01976-SDM-CMV Doc #: 230 Filed: 09/30/24 Page: 1 of 1 PAGEID #: 8561



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 Meng Huang,                                                  Case No: 2:19-cv-1976

               Plaintiff,                                     Judge Graham

        v.                                                    Magistrate Judge Vascura

 The Ohio State University and Giorgio Rizzoni,

               Defendants.



                                      ORDER OF RECUSAL

        The undersigned hereby recuses himself from this case and instructs that it be redrawn.


                                                      s/ James L. Graham
                                                      JAMES L. GRAHAM
                                                      United States District Judge

 DATE: September 30, 2024
